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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term

Grand Jury Sworn in on September 15, 2023

UNITED STATES OF AMERICA : CRIMINAL NO. 21-CR-378 (TJK)
v.
: VIOLATIONS:
ARTHUR JACKMAN, > 18 U.S.C. §§ 1512(c)(2), 2
PAUL RAE, : (Obstruction of an Official Proceeding)
EDWARD GEORGE, JR., : 18 U.S.C. § 1752(a)(1)
KEVIN A. TUCK, and : (Entering and Remaining in a Restricted
NATHANIEL A. TUCK, : Building or Grounds)
(also known as “Nathan” and “Tito”), — : 18 U.S.C. § 1752(a)(2)
: (Disorderly and Disruptive Conduct in a
Defendants. : Restricted Building or Grounds)

40 U.S.C. § 5104(e)(2)(B)

(Entering and Remaining in the Gallery of
Congress)

40 U.S.C. § 5104(e)(2)(D)

(Disorderly Conduct in a Capitol Building)
40 U.S.C. § 5104(e)(2)(G)

(Parading, Demonstrating, or Picketing in
a Capitol Building)

18 U.S.C. § 231(a)(3)

(Civil Disorder)

18 U.S.C. § 111(a)d)

(Assaulting, Resisting, or Impeding
Certain Officers)

18 U.S.C. §§ 641, 2

(Theft of Government Property)

18 U.S.C. §§ 1361, 2

(Destruction of Government Property)

THIRD SUPERSEDING INDICTMENT

The Grand Jury charges that:
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COUNT ONE
On or about January 6, 2021, within the District of Columbia and elsewhere, ARTHUR
JACKMAN, PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL
A. TUCK (also known as “Nathan” and “Tito”) attempted to, and did, corruptly obstruct,
influence, and impede an official proceeding, that is, a proceeding before Congress, specifically,
Congress’s certification of the Electoral College vote as set out in the Twelfth Amendment of the

Constitution of the United States and 3 U.S.C. §§ 15-18.
(Obstruction of an Official Proceeding and Aiding and Abetting, in violation of Title

18, United States Code, Sections 1512(c)(2) and 2)

COUNT TWO

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) did knowingly enter and remain in a restricted building and
grounds, that is, any posted, cordoned-off, and otherwise restricted area within the United States
Capitol and its grounds, where the Vice President was and would be temporarily visiting, without
lawful authority to do so.

(Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,

United States Code, Section 1752(a)(1))

COUNT THREE

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) did knowingly, and with intent to impede and disrupt the orderly

conduct of Government business and official functions, engage in disorderly and disruptive
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conduct in and within such proximity to, a restricted building and grounds, that is, any posted,
cordoned-off, and otherwise restricted area within the United States Capitol and its grounds, where
the Vice President was and would be temporarily visiting, when and so that such conduct did in
fact impede and disrupt the orderly conduct of Government business and official functions.
(Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation

of Title 18, United States Code, Section 1752(a)(2))

COUNT FOUR

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
EDWARD GEORGE, JR., and KEVIN A. TUCK willfully and knowingly entered and
remained in the gallery of either House of Congress, without authorization to do so.

(Entering and Remaining in the Gallery of Congress, in violation of Title 40, United

States Code, Section 5104(e)(2)(B))

COUNT FIVE

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,
PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) willfully and knowingly engaged in disorderly and disruptive
conduct within the United States Capitol Grounds and in any of the Capitol Buildings with the
intent to impede, disrupt, and disturb the orderly conduct of a session of Congress and either House
of Congress, and the orderly conduct in that building of a hearing before or any deliberation of, a
committee of Congress or either House of Congress.

(Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,

Section 5104(e)(2)(D))

COUNT SIX
On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN,

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PAUL RAE, EDWARD GEORGE, JR., KEVIN A. TUCK and NATHANIEL A. TUCK (also
known as “Nathan” and “Tito”) willfully and knowingly paraded, demonstrated, and picketed in
any United States Capitol Building.

(Parading, Demonstrating, or Picketing in a Capito] Building, in violation of Title 40,
United States Code, Section 5104(e)(2)(G))

COUNT SEVEN

On or about January 6, 2021, at approximately 2:16 p.m., within the District of Columbia,
EDWARD GEORGE, JR., and NATHANIEL A. TUCK (also known as “Nathan” and “Tito”’)
committed and attempted to commit an act to obstruct, impede, and interfere with law enforcement
officers, that is, officers from the United States Capitol Police near the Senate Carriage Doors,
lawfully engaged in the lawful performance of their official duties, incident to and during the
commission of a civil disorder which in any way and degree obstructed, delayed, and adversely
affected commerce and the movement of any article and commodity in commerce and the conduct
and performance of any federally protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

COUNT EIGHT

On or about January 6, 2021, within the District of Columbia, EDWARD GEORGE, JR.,
did forcibly assault, resist, oppose, impede, intimidate, and interfere with, an officer and employee
of the United States, and of any branch of the United States Government (including any member
of the uniformed services), that is, Officer J.J., an officer from the United States Capitol Police,
while such officer or employee was engaged in or on account of the performance of official duties,
and where the acts in violation of this section involve physical contact with the victim and the

intent to commit another felony.
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(Assaulting, Resisting, or Impeding Certain Officers, in violation of Title 18, United
States Code, Section 111(a)(1))

COUNT NINE

On or about January 6, 2021, within the District of Columbia, ARTHUR JACKMAN and
EDWARD GEORGE, JR., did embezzle, steal, purloin, knowingly convert to his use and the use
of another, and without authority, sold, conveyed and disposed of any record, voucher, money and
thing of value of the United States and any department and agency thereof, that is, an American
Flag and flagpole, which have a value of less than $1000.

(Theft of Government Property, in violation of Title 18, United States Code, Sections
641 and 2)

COUNT TEN
On or about January 6, 2021, within the District of Columbia, PAUL RAE did willfully
injure and commit depredation against property of the United States, and of any department and
agency thereof, and any property which has been and is being manufactured and constructed for
the United States, and any department and agency thereof, and attempted to do so, that is a waist-
high black metal fence on the west side of the Capitol, causing damage in an amount more than
$1000.

(Destruction of Government Property, in violation of Title 18, United States Code,
Sections 1361 and 2)

COUNT ELEVEN

On or about January 6, 2021, at approximately 12:56 p.m., within the District of Columbia,
PAUL RAE committed and attempted to commit an act to obstruct, impede, and interfere with

Jaw enforcement officers, that is, officers from the United States Capitol Police located near the
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waist-high black metal fence of the west side of the Capitol, lawfully engaged in the lawful
performance of their official duties, incident to and during the commission of a civil disorder which
in any way and degree obstructed, delayed, and adversely affected commerce and the movement
of any article and commodity in commerce and the conduct and performance of any federally
protected function.

(Civil Disorder, in violation of Title 18, United States Code, Section 231(a)(3))

A TRUE BILL:

FOREPERSON.

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Attorney of the United States in
and for the District of Columbia.
